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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

        v.                                             Case No. 21-cr-32-DLF

    GUY WESLEY REFFITT,

             Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM 1

        For Defendant Guy Reffitt’s central role in leading a mob that attacked the United States

Capitol while our elected representatives met in a solemn Joint Session of Congress—including

his intention to use his gun and police-style flexicuffs to forcibly drag legislators out of the building

and take over Congress, and his later threats to harm his children if they turned him into the FBI—

the government respectfully requests that this Court sentence him to 15 years of incarceration.

        The Court should depart upwards from the PSR’s Sentencing Guidelines range of 9 to

11.25 years (108 to 135 months) 2 of incarceration both because Reffitt’s crime “was calculated to

influence or affect the conduct of government by intimidation or coercion,” U.S.S.G. § 3A1.4,

cmt. n.4, and because the Guidelines’ grouping analysis provides “inadequate scope” for Reffitt’s

possession of multiple weapons in the commission of his offenses, see U.S.S.G. § 3D1.4, bkgd.

cmt. (upward departure based on grouping); § 5K2.6 (upward departure based on use of weapons).



1
 This memorandum also reiterates the government’s objections to the Presentence Investigation
Report (PSR), ECF No. 155, and serves as a motion for an upward departure from the U.S.
Sentencing Guidelines.
2
  As explained below, the PSR incorrectly calculated the total offense level as 31. The total
offense level, before departures, should be 33, leading to a range of 11.25 to 14 years (135 to 168
months) of incarceration.
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I.           FACTUAL BACKGROUND

             A.        The January 6, 2021 Attack on the Capitol

             On January 6, 2021, hundreds of rioters unlawfully entered the U.S. Capitol grounds in an

effort to disrupt a Joint Session of Congress that was meeting to ensure the peaceful transfer of

power after the November 3, 2020 presidential election. Many rioters attacked and injured law

enforcement officers, sometimes with dangerous weapons; they terrified congressional staff and

others on scene that day, many of whom fled for their safety; and they ransacked this historic

building—vandalizing, damaging, and stealing artwork, furniture, and other property. Members

of the House of Representatives and the Senate, including the President of the Senate, Vice

President Pence, were forced to evacuate their chambers, and the Joint Session was suspended.

             As described in more detail below, Reffitt’s actions enabled rioters to reach the West Front

of the Capitol Grounds, where some of the most vicious assaults on police officers occurred. And

those assaults, in turn, made the rioters’ entry into the United States Capitol Building on January

6, 2021, possible. Initiated by the most fervent smaller groups and individuals within the crowd—

individuals like Reffitt—and using the mob itself as a cloak for their actions, each blow helped the

crowd penetrate further into the United States Capitol Police’s defenses until the building itself

was accessible and its occupants were at risk. The physical breaches of the building can therefore


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be traced directly back to the assaultive conduct on the grounds of the West Front—and Reffitt’s

own action in leading the mob there.

       “[T]he violent breach of the Capitol on January 6 was a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). Members of this Court have

described it as “a singular and chilling event in U.S. history, raising legitimate concern about the

security—not only of the Capitol building—but of our democracy itself.” United States v. Cua,

No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar. 10, 2021). Rioters injured more than a

hundred members of law enforcement, see Staff of Senate Committees on Homeland Security and

Governmental Affairs and on Rules and Administration Report, Examining the Capitol Attack: A

Review of the Security, Planning, and Response Failures on January 6 (June 7, 2021) 3 at 29

(describing officer injuries), and inflicted significant emotional injuries on law enforcement

officers and Capitol employees alike, see id.; see also Architect of the Capitol, J. Brett Blanton,

Statement before the House of Representatives Committee on House Administration (May 19,

2021) 4 (describing the stress suffered by Architect of the Capitol employees due to the attack).

The attack caused substantial damage to the U.S. Capitol building, resulting in losses of more than

$2.7 million.




3

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol
Attack.pdf.
4
      https://www.aoc.gov/sites/default/files/2021-05/AOC_Testimony_CHA_Hearing-2021-05-
19.pdf.
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        B.      Summary of the Evidence

        A member of the Texas Three Percenters militia group (further explained below), Reffitt

was aware of Congress’s Joint Session on January 6, 2021, to review and certify the Electoral

College ballots, and he wanted to stop it. He specifically targeted Speaker of the House Nancy

Pelosi and Senate Majority Leader Mitch McConnell. At the Ellipse on the morning of January

6, he told other members of his militia group and those gathered around him that he planned to

physically drag Speaker Pelosi out of the Capitol building by her ankles, with her head hitting

every step on the way down.

        Reffitt traveled from his home in Texas to the District of Columbia with an AR-15-style

semi-automatic rifle and a Smith & Wesson .40 caliber handgun. On the afternoon of January 6,

Reffitt went to the Capitol to participate in the riot and to obstruct Congress from meeting to certify

the vote. While at the Capitol, Reffitt, armed with his handgun in a holster on his waist, wearing

a tactical helmet and bulletproof armor, and carrying police-style flexicuffs, confronted three U.S.

Capitol Police officers on the west side stairs, just north of the temporary scaffolding, outside of

the Senate Wing. Reffitt rushed at the officers, who unsuccessfully tried to repel him with two

different types of less-than-lethal projectiles before successfully halting his advances with pepper

spray. To assist Reffitt, other rioters cut down the tarp covering the scaffolding, both to further

penetrate into the scaffolding and to use the tarp as a shield to protect Reffitt from additional pepper

spray and projectiles. Before and after being hit with pepper spray, Reffitt encouraged other

rioters to charge forward at the officers, which they did both by moving up the stairs and by

climbing up through the scaffolding, overwhelming the police officers trying to defend their

position on a landing at the top. That landing was the access point to the final set of stairs leading


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to the Upper West Terrace and the Capitol building itself. The officers were forced to fall back,

the Capitol was breached at the Senate Wing Doors, and for several hours the Capitol was overrun

with thousands of rioters, preventing Congress from carrying out its constitutionally and statutorily

mandated duty to certify the Electoral College vote. The legislators, their staffers, and other

workers at the Capitol building were forced to run for cover and hide from the mob.

       Reffitt recruited Rocky Hardie, another militia group member, in December 2020 to join

him on the trip to the District. Reffitt made the travel arrangements for the two men and instructed

Hardie on what to bring (including firearms, despite discussing with Hardie the fact that they were

illegal in the District). Hardie brought his own handgun and AR-15 rifle on the trip; Reffitt helped

him assemble his rifle to leave in Reffitt’s car (along with Reffitt’s own assembled rifle) at their

hotel in Georgetown on the morning of January 6. Before heading out for the day on January 6,

Reffitt donned a plate carrier vest laden with armored plates that could stop a rifle round. Because

Hardie had brought plates but not a carrier, Reffitt used Gorilla tape to secure Hardie’s armored

plates to Hardie’s shoulders and chest. Also in the hotel room, Reffitt gave Hardie two zip ties to

use to detain people.

       Reffitt returned home to Texas on January 8, triumphant about the integral role he played

in the attack on our democracy. But his mood quickly changed. On January 10, after learning

that the Texas Three Percenters’ leader had been questioned by Texas law enforcement agents,

Reffitt sent messages to several other group members informing them about the leader’s

questioning, telling them to “[b]e prepared, the Shit is now hitting the fan,” and “Start purge of all

previous conversations. NOW.” Heeding his own advice, Reffitt deleted from his iPhone a

Telegram message thread between himself and the militia leader in which they discussed in late


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December and early January Reffitt’s plans and intentions while in the District of Columbia on

January 6, including being armed while at the Capitol. (The FBI was able to recover this deleted

thread.)

       The following day—January 11—after hearing about the militia leader’s questioning and

seeing nonstop news coverage of people around the country being arrested for their participation

in the attack on the Capitol, Reffitt threatened to hurt his two teenage children if they reported him

to the FBI. He specifically told his 18-year-old son Jackson and his 16-year-old daughter Peyton

that if they turned him in to the FBI they would be traitors, and traitors get shot. He also told

Peyton that if she were using her cellphone to record him or post anything about him online, he

would put a bullet through her phone. Both teenagers were well aware that their father kept

several firearms in the house.

       On January 16, FBI agents arrested Reffitt and searched his home in Wylie, Texas. The

agents located the AR-15-style rifle and Smith & Wesson .40-caliber pistol that Reffitt had brought

into the District—and onto the Capitol grounds, in the case of the pistol. (Though not presented

at trial, the FBI also located three additional firearms, as explained below.)

       During the search of Reffitt’s home, the agents also located cans of bear spray and thick

plastic zip ties, both unmodified (near his gun safe) and modified to work as handcuffs (in his car,

along with other materials he had on his person while at the Capitol).

       C.      Militia Membership

       Reffitt’s dangerousness is enhanced by his leadership role in the Texas Three Percenters

(TTP) militia group, which is part of the larger “Three Percenter” movement. Militia extremists

sometimes call themselves three percenters (“III%ers” or “threepers”) based on the myth that only


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three percent of American colonists took up arms against the British during the American

Revolution.    Some Three Percenters regard the present-day United States Government as

analogous to British authorities during the Revolution in terms of infringements on civil liberties.

While many independent or multi-state militia groups incorporate III% in their unit names, the

term is less indicative of membership in a single overarching group than it is representative of a

common belief in the notion that a small force with a just cause can overthrow a tyrannical

government if well-armed and prepared. As explained by the motto on a shirt recovered from

Reffitt’s house, Govt. Ex. 148, the group believed in “rebellion” against the federal government:




       Reffitt was savvy about his militia membership, recognizing both its utility and liability.

While at the Ellipse, he used his membership in the Texas Three Percenters and other militia

groups to encourage others to follow his lead to violently attack the Capitol, hoping that a show of

force in numbers would help him accomplish his goal of removing and replacing Congress. As

he explained to a group of people gathered around him:
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              I’m the state intel for the Texas Three Percenters. I’m also with the Oath
              Keepers, this is Texas Freedom Force, the Old Country Watchmen. We’re
              everywhere. There’s thousands, tens of thousands of us. We’re all here
              somewhere, there’s a whole bunch of us. . . . If we take that building, and
              we clean that one out, I told every one of my guys, and I have more than
              1500 that I was speaking with before I left. I said, you motherfuckers better
              goddamn well take the state capitol at Austin, when we get through with
              this one I better be able to crawl across cross every fucking state.

Govt. Ex. 1B20.2.1 at 28:37. But just hours later when he was visibly and prominently attacking

at the Capitol, he deliberately obscured his involvement with the Texas Three Percenters, lest he

bring the group to the attention of law enforcement. Thus, in a Telegram message on January 11,

2021, after another member complained that it was a “wrong move” if Reffitt “were at the Capitol

‘representing TTP,’” because he did not want “detectives knocking on my door,” Reffitt explained

that prior to attacking the Capitol he “removed all insignia of TTP. To remove any association of

our group. At the least give is credit for being ahead of the game.” Govt. Ex. 1B4.8.

       Similarly, on January 9—three days after he attacked the Capitol—he both strategized with

fellow militia members and recruited others to join the group by discussing how to obscure their

true intentions why operating with a veneer of legitimacy. Thus, when he convened a meeting of

Texas Three Percenters, held over Zoom with Rocky Hardie and TTP leader William Teer, he

explained that openly describing themselves as Three Percenters would not allow them to make

the necessary inroads with politicians to further their aims of overtaking the government: “Don’t

tell them you’re a Three Percenter. Tell them you work with TTP Security Services, you’re a

security service officer and you’d like to speak with them.” Sent. Ex. 1B at 75. And in a

Telegram message, Reffitt recruited fellow Capitol rioters to join his militia, promising them

“ammo and weapons available to law enforcement” and a way to “circumvent” firearms laws:



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               The battle rattle equipment is also another variant we are working on. I
               have a new security business to circumvent the 2nd Amendment issue. TTP
               Security Services LLC. Website is under construction but business is
               licensed with Secretary of State, Texas DPS, and Texas Board of Private
               Security. We can get ammo and weapons available to law enforcement.

Govt. Ex. 1B4.5.

       D.      Reffitt’s Statements Evidencing His Intent

       Reffitt made numerous statements about his intent to come into the District of Columbia

while armed, and his plans to attack the Capitol and the legislators’ inside. He also made

numerous statements demonstrating his lack of remorse and his disrespect for the judicial process.

               1.      Intent to Commit Violence at Capitol

       Reffitt did not intend to simply obstruct Congress’s certification of the Electoral College

vote. Rather, Reffitt intended to physically remove the legislators from the building (using his

firearm and flexicuffs, and the power of the crowd) and actually “take over” Congress. See Govt.

Ex. 217 (telling his family after returning home that he had a “right” to “carry a weapon and take

over the Congress”).

       On January 6, 2021, while at the Ellipse before heading to the Capitol, Reffitt repeatedly

told others around him, as recorded on his helmet camera, that he was going to take over the Capitol

by, in part, physically removing the legislators who were working inside:

   •   “We’re taking the Capitol before the day is over.” Govt. Ex. 1B20.2.1 at 8:25.

   •   “We’re taking the capitol before the day is out.” Id. at 9:50.

   •   “We’re taking the Capitol after this.” Id. at 12:05.

   •   “We’re going for the Capitol before the day’s over with, everybody’s coming out kicking
       and fucking screaming. Fuck ’em.” Id. at 14:06.

   •   “I’m taking the Capitol with everybody fucking else. We’re all going to drag them mother
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       fuckers out kicking and screaming, I don’t give a shit. I just want to see Pelosi’s head hit
       every fucking stair on the way out. (Inaudible) Fuck yeah. And Mitch McConnell too.
       Fuck ’em all. They fucked us too many goddamn years for too fucking long. It’s time to
       take our country back. I think everybody’s on the same damn wavelength. And I think
       we have the numbers to make it happen.” Id. at 16:03.

   •   “We’re taking the Capitol after this shit. Before the day’s out.” Id. at 23:42.

   •   “If we take Congress today and rip every one of them, Republican, Democrat, the fuck out
       of there, because the republic of the people owns that fucking building. We take ’em out,
       we go back to the original republic of the people party, consult with the judicial branch,
       we’ve got a fucking president, we don’t need much more. We just get rid of them
       motherfuckers and start over.” Id. at 25:45.

   •   “I’m packing heat and I’m going to get more heat, and I am going to that fucking building
       and I am dragging them the fuck out.” Id. at 27:45.

   •   “Even if Pence doesn’t or does do his part, you can’t leave them motherfuckers in there.
       We can’t.” Id. at 27:57.

   •   “Get them out of there, I’ll sit in one of those chairs in the Congress, and just wait, until
       everything’s ready to go. . . . It’s 1776 again, let’s start over.” Id. at 30:00.

   •   “Grab ’em by the ankle and drag ’em, let their heads hit the steps all the way down. Fuck
       ’em, every one of ’em’s coming out. I don’t give a shit. I like Ted Cruz. He’s still a
       goddamn politician. They are all coming out. We’ll start over. We own this
       motherfucker. We’ll start over.” Govt. Ex. 1B20.2.2 at 1:19.

   •   “Whatever it takes to get ’em out of that building, and empty it out, and put us in that
       motherfucker.” Id. at 3:44.

And he was adamant that he was carrying a weapon with him and planned to use it if necessary to

complete his mission: When asked by a member of the crowd what would happen if he or other

rioters came under fire from police, Reffitt responded, “a hell rain of fire comes back cause every

one of my guys are here and I assure you they came in hot. So did I.” Id. at 3:53.

       Shortly after Reffitt returned home to Texas, Jackson Reffitt recorded his father explaining

that he had driven from Texas to the District of Columbia armed with a firearm to physically

remove the legislators from the building:
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                 I came here for a reason. I didn’t drive twenty fucking hours to come here
                 and not do what needs to be done. The bad people are in that building.
                 They’re the bad people. They’re disgusting people.

Govt. Ex. 218.

       On the January 9, 2021, Zoom meeting with Rocky Hardie and TTP leader William Teer,

Reffitt described his actions and intentions during the attack on the Capitol. He bragged about

how much “restraint” he showed in not shooting Officer Kerkhoff when he confronted her on the

steps of the Capitol: “I didn’t go after the bitch that shot me, although I would have loved to have

pulled my weapon and shot her right then.” Sent. Ex. 1B at 20.

                 2.     Intent to Commit Additional Violence After the Attack on the Capitol

       Significantly, in multiple messages, Reffitt championed the riot, recruited fellow rioters

into his militia, predicted more political violence in the future, and described his own preparations

for that future violence. On January 9, 2021, Reffitt wrote to other TTP members on Telegram,

“We took the Capital of the United States of America and we will do it again.” Govt. Ex. 1B4.6.

In a Telegram message sent on January 13, Reffitt described law enforcement’s efforts to stop him

during the riot, and predicted additional violence to come:

                 I was in DC on the 6th and I can’t go into details but I was repeatedly shot
                 with clay bullets and Pepper Sprayed very heavily. We took the Capital
                 and put the POS Capital Hill on it’s heels. This has only just begun and
                 will not end until we The People of The Republic have won our country
                 back. We had thousands of weapons and fired no rounds yet showed
                 numbers. The next time we will not be so cordial.

Sent. Ex. 2.

       In several messages that started on January 7, Reffitt also communicated with two other

rioters from Texas he appears to have met while at the Capitol. In one message, Reffitt sent a

photograph of himself from the Capitol, bragging, “And this was me forcing the Capital police

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hand.” Govt. Ex. 1B4.5. In another message on January 9, Reffitt recruited these rioters to join

his militia, promising them that “[t]he fight has only just begun” if they joined him:

                 I’ve added you to a Texas Three Percenters Continental Army Telegram
                 chat. I am Texas State Intel Officer and call sign is Call to Arms. I have
                 researched both of your past and present[ 5]. . . . as I expected you are both
                 very true blooded Patriots. . . . Join us and lets take back our country. The
                 fight has only just begun.

Govt. Ex. 1B4.5.

         Finally, Reffitt sent messages identifying future targets and his efforts to prepare for similar

violence in the future. On January 9, 2021, Reffitt sent a Telegram message to other TTP

members, telling them that “DC is a futile effort now. Changing direction and attack protocol

would benefit. MSM 6 and Big Tech need to feel the rathe of the Republic now.” Sent. Ex. 3.

In the same thread a few hours later, he declared: “THE CAPITAL HAS BEEN DONE AND

THEY ARE ON THEIR HEELS. THEY ARE PREPARED. California, Big Tech and MSM.

They aren’t ready and don’t believe they can ready fast enough.” Id.

         Indeed, that prior evening, in a conversation that Jackson Reffitt recorded in his home,

Reffitt stated, “We are still not done. And everyone I’ve spoke to is -- actually they’re getting

ready to go back on the 20th.” 7     Govt. Ex. 215.     But Reffitt disagreed with that plan, because

now the Capitol Police would be prepared for them.       Instead, he said, “We need to go to California

. . . we need to destroy the news media and start all over.” Id.



5
 In other messages, the defendant claimed to have access to the National Crime Information
Center (NCIC) database, which is used by law enforcement.
6
    MSM is believed to refer to the “mainstream media.”
7
 The “20th” was a likely reference to then-President-Elect Biden’s planned inauguration in the
District of Columbia just eleven days later, on January 20.
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       Reffitt’s words were not idle talk. He was so upset that the Capitol Police offers were able

to temporarily stop his advances that he planned to do whatever was necessary to be successful in

his next attack. On January 13, 2021, Reffitt wrote to his fellow TTP members, “I’ll not be taken

down again like in DC. I have a riot shield and 9oz cans of Bear Spray in route my home.” Govt.

Ex. 1B4.9. Three days later, during the search of his house, the FBI in fact recovered two

apparently full cans of bear spray from Reffitt’s bedroom closet. Govt. Ex. 1B3. While the FBI

did not recover a riot shield, Reffitt was apparently in the process of buying one when he was

arrested: on Telegram, he disseminated a link to an eBay posting for an “Anti-Riot-Protective-

Shield” to his fellow TTP members.

       While with his family shortly after returning home to Texas, when asked if he believed he

had accomplished his mission, Reffitt replied:

                 I think, no. Actually what happened was only the preface of the book.
                 You know what a preface is? The beginning of the book. It’s kind of an
                 explanation of how the book is going to turn out. But it’s just a notification
                 of what you’re going to read in the future. All that was just an example of
                 what we could do without firing a shot. Even though this gun was right
                 here loaded, all I had to do was <mechanical noise> that and shoot, but I
                 didn’t have to do that.

Govt. Ex. 218.

       Finally, Reffitt stated that he was not finished with political violence. Indeed, just as he

described January 6 as the “preface” of a book, Reffitt also asserted that the Capitol insurrection

was just the “beginning” of “a lot more”:

                 I had every constitutional right to carry a weapon and take over the
                 Congress, as we tried to do. We went in, they scurried like rats and hid....
                 I’m not done yet. I got a lot more to do. That’s the beginning.

Govt. Ex. 217.


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        On the TTP Zoom call on January 9, Reffitt discussed the need to recruit others to “join

our Army.” Sent. Ex. 1B at 31. In fact, he extensively discussed the need to increase TTP’s

membership so that the group could better take on the government, declaring:

                I have no care for a fallback position. I have no need for any more
                ammunition than I have right now because after my 1,000 rounds are gone,
                then I’m going to start with just -- just going to be hand-to-hand combat,
                and it’s going to be, but it’s going to be what it’s – I’m going to have to do
                it. But it doesn’t matter at that point, if we don’t move forward we’re
                always going to be falling back. There’s nowhere to go. This country’s not
                big enough, there’s not enough area left in the world for us. We drove to
                Washington, and I can assure you, there was such beautiful land, and it was
                a lot of open property, but that still, you can’t hide from the United States
                government military if we don’t push forward and show them that they are
                not under the rule of Nancy Pelosi, that they are under the rule of the
                Republic of the People of America, Marbury vs. Madison, 1803, that we
                have the power. We showed them what we could do, even though in
                [indiscernible] way that was nothing by comparison to what we have the
                capability of doing, and we should do. We didn’t fire a shot, but we had the
                ability to do so. But the next time won’t be so nice.

Id. at 68-69.

        After attacking the Capitol, Reffitt wanted his militia to turn its attention to attacking

“mainstream media” or” big tech.” Id. at 17. In fact, he suggested firing a sniper rifle round

through the backup generators at a Facebook facility in Texas:

                [T[he only thing we could do to anyone who wouldn’t expect it would be
                mainstream media or Silicon Valley to the big tech. Now, I know that they
                have underground cables to their power sources and they have backup
                systems, but a good round through the crankcase of a Caterpillar 3512
                would drain the oil and it’ll die off in 15 minutes. They’ll have – the
                Facebook assembly here in Forth Worth has three backup generators, but
                sniper round though the radiators or the crankcase would completely
                disseminate those. And if we can disable their cables then we can shut
                down their media. That’s going to shut them down, as well it’s going to
                shut us down. They were going to make them feel it back in the Capitol,
                and in the Capitol then they won’t know we’re coming next time.

Id. at 17.

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       And this was not the first time that Reffitt targeted violence at Facebook. In August 2020,

after Facebook disabled the accounts belonging to Reffitt and other Texas Three Percenter

members, Reffitt sent an email to the office of Senator Ted Cruz, with the subject line “Facebook

has taken down all of our Texas Three Percenters pages,” threatening to use an “immeasurable”

amount of “2nd Amendment” “force” against Facebook. Sent. Ex. 3.

               3.      Lack of Remorse for Conduct

       Far from demonstrating remorse or disavowing his actions, since his arrest and detention,

Reffitt has continued to attempt to recruit others to his crusade to attack the government.

       On May 11, 2021, ProPublica published an article titled In Exclusive Jailhouse Letter,

Capitol Riot Defendant Explains Motives, Remains Boastful. See ECF No. 24. The government

previously filed a copy of Reffitt’s manifesto, 8 written on behalf of what he called the “1/6ers,” in

which he explained that “January 6th was nothing short of a satirical way to overthrow a

government.” ECF No. 24-2. Reffitt declared that Congress had been in power for too long—

“more than half a century”—and that it was up to him and his compatriots to “notify our

government, they have transgressed much too far.” The manifesto suggests that more is to come.

       On February 25, 2022—the Friday before the trial began in this case—Reffitt, through his

wife, issued a statement through Telegram. Sent. Ex. 5. Reffitt accused the Court of keeping the

public line inaccessible because the government “want[s] a secret tribunal.” He proclaimed that

his trial would be the “beginning of what could make or break this nation” and that it would “be



8
  After Reffitt’s counsel declined to concede Reffitt’s authorship of the letter, the government
corroborated it through his jail messages. See Opp. to Motion for Change of Venue (ECF No. 39)
at 14 n.3.
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for the heart and soul of The Republic.” He wrote that, at the trial, he was “prepared to stare down

the barrel of tyranny to receive the bullet of freedom.”

       Similarly, on May 25, 2022, just before the originally scheduled sentencing date, a letter

was posted on Twitter purporting to be from Reffitt. Sent. Ex. 6. With strikingly similar

language, he wrote that he was “prepared to once again, stare down the barrel of tyranny and

receive the bullet of freedom.” Id. He encouraged others to keep “fight[ing]”: “You weren’t

wrong that day. You aren’t wrong now. Don’t let them win.” He professed that he was a martyr

for his cause, writing, “I do this time in chains for my family, and for yours.” Id.

       On his family’s GiveSendGo donation site, Reffitt similarly attempted to get his message

out to the world, while simultaneously criticizing the judicial process. On May 25, 2022, he

faulted the Court for reading the jury instructions too quickly and the jurors for being “biased.”

Sent. Ex. 7. He wrote that “the jury didn’t take the time to see if the government was lying,” and

that he would “never bend the knee to tyranny.” Id.

       On June 17, 2022, Reffitt wrote again to his fellow “Patriots” on GiveSendGo, urging them

to “Hold the Line.” Id. He accused his trial counsel of being “corrupt” but lamented that juries

have convicted other defendants for their roles in the attack on the Capitol. Id. He further

proclaimed that “[t]here is something very wrong with this place,” id.—presumably meaning the

District of Columbia or its federal courthouse.

       Finally, even after the jury returned its guilty verdict, Reffitt was adamant in an interview

with a reporter that the riot was staged and that he had been entrapped. See Sent. Ex. 8.




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         E.     Reffitt’s Additional Illegal Conduct

                1.      Firearm Silencer

         While searching Reffitt’s home on January 16, 2021, FBI agents located three firearms in

addition to the two firearms that Reffitt brought with him into the District of Columbia: a Walther

P22 semi-automatic pistol, a Savage Arms Model III 7mm rifle, and a Smith & Wesson “.38

Special” revolver. All three firearms were in the gun safe in Reffitt’s bedroom closet. Next to

the Walther P22 was an unregistered silencer that could be threaded onto the firearm, as depicted

below:




         Initially, in a custodial interview with the FBI, Reffitt falsely claimed that the silencer was

a “fuel filter” for his car, but he eventually admitted that it was, in fact, a silencer that he had

purchased, attached to his firearm, and fired. 9




9
 Attached as Sent. Ex. 9 is Agent Hightower’s interview of Reffitt about the silencer; Sent. Ex.
9A is the video file and Sent. Ex. 9B is the transcript.
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         Reffitt’s possession of the unregistered silencer is illegal. 10 A “firearm silencer,” which

is a “device for silencing, muffling, or diminishing the report of a portable firearm,” 18 U.S.C.

§ 921(a)(24), qualifies as a firearm under 18 U.S.C. § 921(a)(3)(C) and 26 U.S.C. § 5845(a)(7).

A firearm must either bear a serial number or be registered with the ATF.          26 U.S.C. § 5842.

Because Reffitt’s firearm silencer did not bear a serial number and was not registered with the

ATF, his possession of the silencer was illegal.   Reffitt’s illegal possession of the firearm silencer,

if it resulted in a conviction, would subject him to a term of imprisonment of up to 10 years.      See

26 U.S.C. § 5871; see also U.S.S.G. §2K2.1(a)(5) (providing for a base offense level of 18 for a

person convicted of illegal possession of a firearm silencer, which is one of the prohibited

weapons, along with machineguns and short-barreled rifles, defined in 26 U.S.C. § 5845(a)).

                 2.     Assault on His Wife

         In the summer of 2020, Reffitt pointed a loaded gun at the head of his wife, Jodi Nicole

Reffitt. Reffitt’s son Jackson and wife Jodi Nicole both recounted the incident to a reporter as

part of a podcast series, Will Be Wild. 11 Jackson explained that in the summer of 2020, he was

sitting outside on the patio of his family’s house when his mother came outside and reported that

Reffitt had just put a gun to her head. Sent. Ex. 11A.1. Jodi Nicole corroborated the incident,

explaining to the reporter that Reffitt actually held a gun to her head on two different occasions,

including one time when he ultimately fired the gun next to (but not at) her head. Sent. Ex. 11A.2.




10
     Attached as Sent. Ex. 10 are the two ATF reports about the silencer.
11
   The statements were published in episode 4, “Rules for Radicals,” released on May 9, 2022, in
Will Be Wild, produced by Pineapple Street Studios and Wondery. Sent. Exs. 11A.1 and 11A.2
are the audio file excerpts and Sent. Exs. 11B.1 and 11B.2 are the transcripts.
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She elaborated that Reffitt’s actions were a result of him getting angry at her, and she believed that

pointing a gun at her was how he expressed his anger.


II.    THE CHARGES AND VERDICT

       On September 15, 2021, the grand jury returned a superseding indictment charging Reffitt

with the following five counts:

       •       Count One, Transporting a Firearm in Furtherance of a Civil Disorder, 18 U.S.C.
               § 231(a)(2)

       •       Count Two, Obstruction of an Official Proceeding, 18 U.S.C. § 1512(c)(2)

       •       Count Three, Entering or Remaining in a Restricted Building or Grounds with a
               Firearm, 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

       •       Count Four, Obstructing Officers During a Civil Disorder, 18 U.S.C. § 231(a)(3)

       •       Count Five, Obstruction of Justice—Hindering Communication Through Force or
               Threat of Physical Force, 18 U.S.C. § 1512(a)(2)(C).

       The Court presided over the trial from February 28 through March 8, 2022, when the jury

returned a verdict of guilty on all counts. On May 4, 2022, the Court denied Reffitt’s post-trial

motions for a new trial, for judgment of acquittal, and to arrest judgment. ECF No. 148.


III.   STATUTORY PENALTIES

       Reffitt now faces sentencing on all five counts. As noted by the U.S. Probation Office,

the statutory maximum term of imprisonment is 20 years each on Count Two (Obstruction of an

Official Proceeding) and Count Five (Obstruction of Justice), 10 years on Count Three (Restricted

Grounds with a Firearm), and 5 years each on Count One (Civil Disorder, Transporting Firearms)

and Count Four (Civil Disorder, Obstructing Officers). PSR ¶¶ 131-35.



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       The statutory maximum fine for each count is $250,000. PSR ¶ 155. The maximum term

of supervised release for each count is three years. PSR ¶¶ 139.


IV.    THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

       As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The Sentencing Guidelines are “the product of careful study based on extensive

empirical evidence derived from the review of thousands of individual sentencing decisions” and

are the “starting point and the initial benchmark” for sentencing. Id.

       In this Section, the government (A) explains why the total offense level should be 33, (B)

agrees with Probation’s inclusion of certain adjustments, over Reffitt’s objections, (C) lays out the

Sentencing Guidelines incarceration range, and (D) moves for an upward departure.

       A.      Total Offense Level

       As explained in the addendum to the PSR, the government generally agrees with the PSR’s

Guidelines analysis but respectfully submits that the offense level computations should be

performed prior to the grouping analysis. Sequencing the analysis as the government suggests

(and as the Guidelines require) shows that, first, the total offense level should be 33 rather than 31,

because of an additional two-level enhancement for an obstruction-of-justice conviction pursuant

to U.S.S.G. §§ 3C1.1, cmt. n.8; and 3D1.2(c), and, second, the grouping analysis provides

“inadequate scope for ensuring appropriate additional punishment for the additional crimes,”



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U.S.S.G. § 3D1.4, bkgd. cmt., because Reffitt’s firearms crimes do not result in any enhancement

of the Guidelines level.

                 1.    Sequencing of Guidelines Analysis for Each Count

       The Guidelines set out the specific “order” of the analysis: first, for each count of

conviction, determine the offense guideline; second, determine the base offense level and apply

any appropriate specific offense characteristics, cross references, and special instructions; third,

apply any adjustments in Parts A, B, and C of Chapter 3. U.S.S.G. § 1B1.1(a)(1)-(3). Then,

repeat each step for each additional count of conviction. U.S.S.G. § 1B1.1(a)(4). Finally,

perform the grouping analysis in Part D of Chapter 3. Id.

       Probation did not follow this procedure in preparing the PSR. 12 Rather, Probation started

with the grouping analysis in Part D of Chapter 3, PSR ¶¶ 41-45, then did the Guidelines analysis

in U.S.S.G. § 1B1.1(a)(1)-(3), but only for Counts Two, PSR ¶¶ 46-54, and Four, PSR ¶¶ 56-61.

Probation then performed the grouping analysis, PSR ¶¶ 62-68. But the grouping analysis should

be “[a]ppl[ied]” only after the Guidelines analysis is performed for each separate count. U.S.S.G.

§ 1B1.1(a)(4).

       The PSR did not include a Guidelines analysis for Counts One, Three, or Five. Although

the government agrees with Probation that Counts One, Three, and Five group with Count Two

pursuant to U.S.S.G. § 3D1.2(c), PSR ¶¶ 41-42, and that the offense level applicable to the grouped

offenses will be the adjusted offense level for Count Two, the PSR should have included the

offense level computation for all counts.


12
   On page 28 of the PSR, Probation explained that the Guide to Judiciary Policy allows the
grouping analysis to take the place of certain individual count analyses. But the Guidelines
themselves are clear on the necessary sequencing.
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       The government submits that the appropriate offense level computations for Counts One,

Two, Three, and Five, prior to any grouping analysis under Part D of Chapter 3, are as follows:

       Count One: 18 U.S.C. § 231(a)(2)

              U.S.S.G. § 2K2.1(a)(7)        Base Offense Level                          12
              U.S.S.G. § 2K2.1(b)(1)(A)     Number of Weapons                           +2
              U.S.S.G. § 2K2.1(b)(6)(B)     Connection with Other Felony                +4
                                                                                        18
              U.S.S.G. § 2K2.1(c)(1)(A) Cross-reference to Count Two
              U.S.S.G. § 2X1.1(a)          Base offense level                           27
              U.S.S.G. § 3B1.1(c)          Aggravating role                             +2
              U.S.S.G. § 3C1.1, cmt. n.4(D) Obstruction of Justice                      +2

                                                                         Total          31

       Count Two: 18 U.S.C. § 1512(c)(2)

              U.S.S.G. § 2J1.2(a)          Base Offense Level                            14
              U.S.S.G. § 2J1.2(b)(1)(B)    Causing or Threatening Injury                 +8
              U.S.S.G. § 2J1.2(b)(2)       Substantial Interference                      +3
              U.S.S.G. § 2J1.2(b)(3)(C)    Extensive Scope, Planning, or Preparation     +2
              U.S.S.G. § 3B1.1(c)          Aggravating Role                              +2
              U.S.S.G. § 3C1.1, cmt. n.4(D) Obstruction of Justice                       +2

                                                                         Total           31

       Count Three: 18 U.S.C. § 1752(a)(1), (b)(1)(A)

              U.S.S.G. § 2B2.3(a)          Base Offense Level                             4
              U.S.S.G. § 2B2.3(b)(1)(A)(vii) Restricted Building or Grounds              +2
              U.S.S.G. § 2B2.3(b)(2)       Dangerous Weapon                              +2
                                                                                          8
              U.S.S.G. § 2B2.3(c)(1)       Cross-reference to Count Two
              U.S.S.G. § 2X1.1(a)          Base offense level                           27
              U.S.S.G. § 3B1.1(c)          Aggravating role                             +2
              U.S.S.G. § 3C1.1, cmt. n.4(D) Obstruction of Justice                      +2

                                                                         Total          31




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       Count Five: 18 U.S.C. § 1512(a)(2)(C)

               U.S.S.G. § 2J1.2(a)            Base Offense Level                              14
               U.S.S.G. § 2J1.2(b)(1)(B)      Causing or Threatening Injury                   +8

                                                                             Total           22

               2.      Adjustment for Obstruction of Justice Under U.S.S.G. § 3C1.1

       Performing the Guidelines analysis for each individual count (as described above) shows

that an additional two-level adjustment for an obstruction of justice conviction applies under

U.S.S.G. § 3C1.1—leading to a total offense level of 33 rather than 31.

       The PSR initially noted that a two-level adjustment for obstruction applies because Reffitt

“willfully obstructed or impeded, or attempted to obstruct or impede, the administration of justice

when the defendant directed other members of the TTP to delete their message threads after he

became aware that the FBI was investigating the events at the US Capitol.” PSR ¶ 29. Probation

later applied a two-level obstruction enhancement when calculating the offense level for Group

One based on that conduct and also because “[u]pon his return to Texas, the defendant told his

children that if they turned him into the FBI, they would be traitors, and traitors get shot. He also

told his daughter that if she were recording him, he would put a bullet through her phone.” PSR

¶ 53. The PSR thus apparently provided a single two-level adjustment for obstruction of justice

based on Reffitt’s instruction to others to delete evidence and Reffitt’s completely separate action

(which resulted in a separate conviction) of threatening to harm his children if they reported him

to federal law enforcement.

       That determination disregards U.S.S.G. § 3C1.1, cmt. n.8, which explains how grouping

under § 3D1.2(c) operates when a defendant is “convicted both of an obstruction offense … and


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an underlying offense (the offense with respect to which the obstructive conduct occurred).” That

occurred in this case.

       Reffitt threatened his two children with physical violence if they informed the FBI about

his criminal conduct on January 6, including his obstruction of the Congressional certification vote

on that date. For those threats, Reffitt was convicted in Count Five of “an obstruction offense,”

i.e., a violation of 18 U.S.C. § 1512(a)(2)(C)—threatening physical force against two persons to

prevent communication to a law enforcement officer. He was convicted in Count Two, “the

underlying offense,” of a violation of 18 U.S.C. § 1512(c)(2)—corruptly obstructing an official

proceeding before Congress. Applying Note 8, Reffitt’s Count Two offense conduct was “the

offense with respect to which the obstructive conduct” in Count Five “occurred.”

       In such a case, Note 8 instructs that “the count for the obstruction offense (here, Count

Five) will be grouped with the count for the underlying offense (here, Count Two) under subsection

(c) of § 3D1.2 (Groups of Closely Related Counts).” U.S.S.G. § 3C1.1, cmt. n.8. To ensure that

the obstructive conduct increases the combined offense level under U.S.S.G. §§ 3D1.1-.4, Note 8

further instructs that the “offense level for that group of closely related counts will be the offense

level for the underlying offense increased by the 2-level adjustment specified by this section, or

the offense level for the obstruction offense, whichever is greater.” Id.

       This approach effectuates Note 8. As the PSR determined, at ¶ 54, the adjusted offense

level for Count Two is 31. That includes a two-level enhancement under § 3C1.1 because of

Reffitt’s instructions to his fellow TTP members to delete incriminating digital communications

between them regarding Reffitt’s plans to obstruct the certification vote. This conduct amounted

to “directing or procuring another person to destroy or conceal evidence that is material to an


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official investigation or judicial proceeding (e.g., shredding a document or destroying ledgers upon

learning that an official investigation has commenced or is about to commence), or attempting to

do so.” U.S.S.G. § 3C1.1, cmt. n. 4(D).

        As Probation also determined, Counts One, Two, and Three group together as Group One.

PSR ¶¶ 41, 46. The government agrees. 13 And as explained above, the government agrees with

the PSR’s inclusion of Count Five as part of Group One. PSR ¶ 42. Indeed, Note 8 requires

Count Five to be included. See United States v. Provenzano, 1 F. App’x 43, 45 (2d Cir. 2001)

(unpublished) (applying Note 8 where defendant pled guilty “both to obstruction offenses … and

to the underlying offenses … ‘with respect to which the obstructive conduct occurred’”).

        Further applying Note 8, the total offense level for Group One is increased by two levels,

resulting in a total offense level of 33 from the adjusted offense level of 31 that applies to Count

Two. This two-level adjustment should be applied to Count Two because that is the count with

the highest offense level in Group One. See United States v. Perrin, 551 F. App’x 694, 696 (4th

Cir. 2014) (unpublished) (noting that the “obstruction enhancement was properly applied to that

calculation” of the count with the higher offense level).

        The PSR did not apply Note 8. But Note 8 can and should be applied even if the

adjustment in U.S.S.G. § 3C1.1 was already applied when performing the initial Guidelines

analysis under U.S.S.G. § 1B1.1(a)(3). Note 8 is part of the commentary of § 3C1.1 “that


13
   The PSR reached this conclusion because “the offense involved the same victim and two or
more acts or transactions connected by a common criminal objective or constituting part of a
common scheme or plan.” PSR ¶ 41. The government submits that Counts Two and Three group
because they involve the same victim, U.S.S.G. § 3D1.2(a), and Count One “embodies conduct
that is treated as a specific offense characteristic in, or other adjustment to, the guideline applicable
to” Count Three, specifically “a dangerous weapon (including a firearm) was possessed.”
U.S.S.G § 3D1.2(c). The result is the same.
                                                   26
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interprets or explains a guideline,” and as such, is “authoritative unless [the commentary] violates

the Constitution or a federal statute, or is inconsistent with, or a plainly erroneous reading of, that

guideline.” Stinson v. United States, 508 U.S. 36, 38 (1993). The PSR noted, at page 30, that a

representative from the Sentencing Commission, when consulted, indicated that § 3C1.1 allows

for only a single application of a two-level adjustment. But this interpretation finds no support in

the Guidelines, commentary, or case law and fails to account for the plain language of Note 8. By

contrast, Note 8 gives meaning to §3C1.1 and §3D1.2.              Consequently, Note 8 offers an

“authoritative” interpretation of § 3C1.1 and should be applied. See United States v. Robinson,

86 F.3d 1197, 1199 (D.C. Cir. 1996) (holding that Guideline commentary was not inconsistent

with the text of the Guideline and therefore must be applied).

       Nor would application of Note 8 result in impermissible “double-counting” of Reffitt’s

obstructive conduct. The two-level enhancement required by Note 8 increases the total offense

level for Group One because of Reffitt’s threats against his children as embodied in the conviction

for Count Five. The enhancement to Count Two under Note 4(D) of Section 3C1.1 is based on

Reffitt’s entirely separate directive to other Texas Three Percenters to delete incriminating

communications.      Thus, applying Section 3C1.1’s Note 8 enhancement and Note 4(D)

enhancement punishes two entirely distinct obstructive acts. See United States v. Baker, 200 F.3d

558, 562 (8th Cir. 2000) (rejecting double-counting objection to application of Note 8 where the

obstruction occurred after the underlying fraud had been completed); see also United States v.

Koumbairia, 17 F. Supp. 3d 81, 85 (D.D.C. 2014) (explaining why there was no impermissible

double-counting).




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       The Sentencing Commission “plainly understands the concept of double counting, and

expressly forbids it where it is not intended.” United States v. Valdez-Torres, 108 F.3d 385, 389

(D.C. Cir. 1997) (quoting United States v. Williams, 954 F.2d 204, 208 (4th Cir. 1992)). With

Note 8, the Sentencing Commission expressly commanded the application of the two-level

enhancement as part of a grouping analysis in order to guard against double-counting by treating

the counts separately. See United States v. Yielding, 657 F.3d 688, 717 (8th Cir. 2011) (noting

that Note 8 “is designed to prevent double-counting by ensuring that the obstructive conduct is

taken into account only once: as a two-level adjustment to the base offense level for the underlying

offense, or as the offense level provided for the obstruction offense itself”). That is the case here,

where the application of Note 8 means that Reffitt’s obstructive conduct at issue in Count Five

increases the total offense level only once, by increasing the combined offense level for Group

One. If Note 8 is not applied, however, Reffitt’s Count Five obstructive conduct would have no

effect on the total offense level. That would be an unwarranted result: Reffitt’s threatening

conduct for which he was convicted in Count Five, which was temporally and geographically

distinct from his criminal conduct on January 6 and represented an additional serious crime after

his January 6 crimes were complete, should result in additional punishment.

               3.      Guidelines Total Offense Level

       For Count Two, there is a two-level adjustment based on Reffitt’s instruction to others to

delete evidence, leading to an initial adjusted offense level of 31. Then, after Count Five is

grouped with Count Two (and Counts One and Three), Section 3C1.1’s Note 8 and Section

3D1.2(c) compel an additional two-level adjustment based on the obstruction of justice conviction




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embodied in Count Five. Therefore, the adjusted offense level for Group One should be 33,

meaning that the total offense level would also be 33. 14

       B.      Probation’s Correct Application of Certain Adjustments

       As noted in the addendum to the PSR, at pages 33-35, Reffitt objected to the application

of enhancements pursuant to U.S.S.G. §§ 2J1.1(b)(1)(B) (causing or threatening to cause physical

injury to a person, or property damage, in order to obstruct the administration of justice),

2J1.1(b)(2) (substantial interference with the administration of justice), and 2J1.2(b)(3) (otherwise

extensive in scope, planning or preparation). But Probation was correct to apply all three of these

adjustments.

               1.      U.S.S.G. § 2J1.1(b)(1)(B) (causing or threatening injury) and
                       § 2J1.1(b)(2) (substantial interference with administration of justice)

       Reffitt argues that neither of these specific offense characteristics is applicable to his

conduct because his actions on January 6, 2021, did not relate to the “administration of justice.”

But Reffitt’s argument fails to account for § 2J1.2’s text and commentary, see U.S.S.G. § 1B1.1(b)

(“The court shall then consider … any other policy statements or commentary in the guidelines

that might warrant consideration in imposing sentence.”), which provides a broad definition of

“administration of justice.” It defines the term “[s]ubstantial interference with the administration

of justice” to include “a premature or improper termination of a felony investigation; an

indictment, verdict, or any judicial determination based on perjury, false testimony, or other false

evidence; or the unnecessary expenditure of substantial governmental or court resources.”

U.S.S.G. § 2J1.2, cmt. n.1 (emphasis added). This definition goes well beyond a judicial or grand


14
  The government agrees with Probation that Group Two does not increase the total offense level
because it is 9 or more levels less serious than Group One. PSR ¶¶ 62-64.
                                                 29
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jury proceeding to include the unnecessary expenditure of substantial “governmental” resources.

Id. And because Note 1 is part of the commentary of § 2J1.2 “that interprets or explains a

guideline,” it is “authoritative unless [the commentary] violates the Constitution or a federal

statute, or is inconsistent with, or a plainly erroneous reading of, that guideline.” Stinson, 508

U.S. at 38.

        Other courts have applied § 2J1.2(b)(2) to proceedings that would not fit Reffitt’s narrow

definition of the “administration of justice,” including at least one of the January 6 cases in which,

as here, the defendant contested application of the enhancement. As Chief Judge Howell noted

in rejecting an identical argument, § 2J1.2 “applies to a broad swath of obstruction statutes that

reach obstruction of nonjudicial proceedings.” United States v. Rubenacker, 21-cr-193-BAH

(D.D.C., Sentencing Hearing May 26, 2022) (attached as Sentencing Exhibit 12) at Tr. 65. In

Rubenacker, Chief Judge Howell squarely held that the special offense characteristics under

§§ 2J1.2(b)(1)(B) and (b)(2) applied to enhance a defendant’s sentence under 18 U.S.C.

§ 1512(c)(2) for his crime of corruptly obstructing Congress’s proceeding on January 6. 15

        Chief Judge Howell rejected the argument that § 2J1.2’s use of the “phrase ‘the

administration of justice’ is limited to the activities of courts or grand juries, or even federal agency

adjudicatory proceedings.” Rubenacker Tr. at 62. The phrase “administration of justice” “is

sufficiently broad to encompass nonjudicial official proceedings, such as Congress’s certification



15
   In addition to Chief Judge Howell, two additional judges on this Court have applied at least one,
and sometimes both, of the “administration of justice” enhancements in the context of the Capitol
breach on January 6, in cases where the parties agreed to their application. See, e.g., United States
v. Duke Wilson, No. 21-CR-345 (Lamberth, J.); United States v. Paul Hodgkins, No. 21-CR-188
(Moss, J.); United States v. Scott Fairlamb, No. 21-CR-120 (Lamberth, J.); United States v. Jacob
Chansley, No. 21-CR-3 (Lamberth, J.).
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of the Electoral College votes.” Id. at 69-70. The Chief Judge explained:

                We may not always think about the administration of justice and the
                democratic process being so closely intertwined, but what Congress was
                doing on January 6, 2021, was recognizing, protecting, and upholding the
                democratic choices of millions of voters across each of the states, as it heard
                and resolved objections to the certification of any state’s exercise of their
                electoral votes.

                Congress was convened to ensure that the official results of the presidential
                election accurately reflected the choices that had been made weeks earlier
                at the ballot box. The successful completion of that process is a stable basis
                upon which the authority of the incoming President is built. Congress’s
                tasks on January 6, 2021, fit easily into the definition courts have given to
                the phrase “administration of justice.” When Congress convened to count
                the Electoral votes, by “performing acts or duties required by law,”
                Congress was maintaining “the right within a political community,” as
                Black’s Law Dictionary states, to have votes counted in a particular manner,
                using “the physical force of the state” in the form of law enforcement
                officers located in and around the Capitol to secure the proceedings; though
                that security was severely tested and breached by the actions of the
                defendant and others who illegally entered the Capitol that day.

                The constitutionally mandated procedure falls within the meaning of the
                phrase “administration of justice.”

Id. at 74-75.

        Like Reffitt, while Rubenacker did not directly verbally threaten Capitol Police officers,

his “physical movements . . . communicated threats to law enforcement.” Rubenacker Tr. at 56.

“[The defendant’s] pursuit of [an officer], in blatant disregard for this officer’s instructions to stand

back and leave, as the crowd of angry, yelling rioters swelled around him, constituted a clear and

direct threat to the safety of [the officer] and could have led to [the officer’s] physical injury.” Id.

at 57. “The defendant’s yelling and taunting at the officers . . . in an agitated manner with his

finger outstretched was threatening conduct, regardless of what he precisely said and whether those

words contained threats of physical injury to those officers.” Id. at 58. These statements apply


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with equal force to Reffitt’s threatening actions toward the Capitol Police officers guarding the

landing, including using his megaphone, pointing at the officers, and waving rioters towards the

officers, all while the crowd around him swelled and yelled at those officers.

       Moreover, while there was no evidence in Rubenacker that the defendant uttered verbal

threats against officers, here Reffitt clearly did. While on the Ellipse before heading to the

Capitol, Reffitt told others of his intention to use his firearm against legislators and Capitol Police

officers. See Section I.D.i, supra (recounting Reffitt’s statements). This is a threat, even though

it was not communicated directly to the legislators or officers. See United States v. Parr, 545

F.3d 491, 497 (7th Cir. 2008) (in prosecution for interstate communications of threats, the “threat

doesn’t need to be communicated directly to its victim or specify when it will be carried out”);

United States v. Baker, 514 F. Supp. 3d 1369, 1378 (N.D. Fla. 2021) (holding that the “language

of 18 U.S.C. § 875(c) does not require that the threat be made directly to the intended target; it

simply prohibits ‘any threat to injure the person of another’ made in interstate commerce.”)

(quoting United States v. Morales, 272 F.3d 284, 288 (5th Cir. 2001)).

       Rubenacker’s interpretation of the term “administration of justice” as used in § 2J1.2 is

consistent with the approaches taken by other courts. See United States v. Ali, 864 F.3d 573, 574

(7th Cir. 2017) (upholding the application of § 2J1.2(b)(2) after law enforcement officials

expended substantial resources to recover the defendant’s children he kidnapped and transported

internationally); United States v. Atlantic States Cast Iron Pipe Co., 627 F. Supp. 2d 180, 205-08

(D.N.J. 2009) (applying § 2J1.2(b)(2) after a defendant interfered with OSHA investigations into

a workplace accident); United States v. Weissman, 22 F. Supp. 2d 187, 194-98 (S.D.N.Y. 1998)

(applying § 2J1.2(b)(2) after a defendant withheld subpoenaed documents from a congressional


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subcommittee); United States v. Pegg, 812 F. App’x 851, 860 (11th Cir. 2020) (upholding the

application of § 2J1.2(b)(2) where defendant’s “scheme and lies caused a substantial waste of

resources, including hundreds of hours of work from the investigators”) (citing United States v.

Johnson, 485 F.3d 1264, 1271-72) (11th Cir. 2007)); United States v. Meredith, 602 F. App’x 102,

103 (4th Cir. 2015) (same); United States v. Tankersley, 296 F.3d 620, 623-24 (7th Cir. 2002)

(same); United States v. Harrington, 82 F.3d 83, 87 n.2 (5th Cir. 1996), as modified on reh’g (Apr.

17, 1996) (same); United States v. Voss, 82 F.3d 1521, 1532 (10th Cir. 1996) (same).

       Although the commentary defines only the term “substantial interference with the

administration of justice” in § 2J1.2(b)(2), and not the term “in order to obstruct the administration

of justice” in § 2J1.2(b)(1)(B), the same term should be interpreted consistently. The relevant

term in both provisions (“administration of justice”) is identical.       And the operative verbs,

“interfere[]” and “obstruct,” carry the same meaning in this context. The adjective “substantial”

does not change the meaning of “administration of justice,” especially since the commentary

repeats the word, requiring “the unnecessary expenditure of substantial governmental . . .

resources.” U.S.S.G. § 2J1.2, cmt. n.1. Thus, the term “in order to obstruct the administration

of justice” in § 2J1.2(b)(1)(B) should be read to include obstructive conduct aimed at nonjudicial

governmental activities. A different conclusion would lead to the unlikely result of two different

meanings for the term “administration of justice” within the same guideline.

       The definition of “administration of justice” in § 2J1.2, cmt. n.1, is consistent with the

term’s ordinary meaning, which can encompass the application or execution of any law, including

the laws relating to the electoral certification. One meaning of “justice,” for example, is “[t]he

fair and proper administration of laws.” Black’s Law Dictionary (11th ed. 2019) (definition 4).


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And some cases have defined “administration of justice” to mean “the performance of acts or

duties required by law,” Rosner v. United States, 10 F.2d 675, 676 (2d Cir. 1926) (quotation

omitted), or “the performance of acts required by law in the discharge of duties such as appearing

as a witness and giving truthful testimony when subpoenaed,” United States v. Partin, 552 F.2d

621, 641 (5th Cir. 1977). The electoral certification easily falls within this broad understanding

of “administration of justice,” because it involved Congress’s performance of duties required by

law. See U.S. Const. art. II, § 1, cl. 3; 3 U.S.C. §§ 15-18.

       Further, § 2J1.2 applies to an array of obstruction statutes, including a number that do not

involve the “administration of justice” in the narrow sense that Reffitt advocates (i.e., relating only

to judicial proceedings). See U.S.S.G. § 2J1.2, cmt.; U.S.S.G. Appendix A; 18 U.S.C. § 551

(concealing or destroying invoices or papers relating to imported merchandise); § 665(c)

(obstructing an investigation under the Workforce Innovation and Opportunity Act); § 1505

(obstruction of proceedings before departments, agencies, and committees), § 1511 (obstruction

of enforcement of state gambling laws), § 1512 (obstruction of official proceedings), § 1516

(obstruction of a federal audit), § 1519 (destruction of documents in agency investigations); 26

U.S.C. § 7212 (interfering with the administration of the Internal Revenue Code). Yet, under

Reffitt’s proposed interpretation, enhancements under §§ 2J1.2(b)(1)(B) and (b)(2) would not

apply to any of those statutes.

       “A principal purpose of the Sentencing Guidelines is to promote uniformity in sentencing

imposed by different federal courts for similar criminal conduct.” Hughes v. United States, 138

S. Ct. 1765, 1774 (2018). The Guidelines therefore seek to achieve “a strong connection between

the sentence imposed and the offender’s real conduct.” United States v. Booker, 543 U.S. 220,


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246 (2005).     Consistent with this purpose, § 2J1.2 sets forth several specific offense

characteristics that provide sentencing courts with tools to adequately address the “[n]umerous

offenses of varying seriousness” that “may constitute obstruction of justice.” U.S.S.G. § 2J1.2

bkgd. cmt. The Sentencing Commission quite reasonably determined that obstructing justice by

causing or threatening injury or property damage is more serious and deserves greater punishment

than obstruction that does not involve those features. And causing or threatening injury to

obstruct a congressional proceeding is just as serious as doing so to obstruct judicial proceedings.

To avoid making §§ 2J1.2(b)(1)(B) and (b)(2) inapplicable to many of the statutes for which the

guideline was designed, the commentary’s broad definition of “administration of justice” should

apply, as its text makes clear, beyond just judicial proceedings.

       Probation therefore correctly applied the two enhancements under § 2J1.1(b).

               2.      U.S.S.G. § 2J1.2(b)(3) (otherwise extensive in scope, planning or
                       preparation)

       Section § 2J1.2(b)(3)(C) provides a two-level enhancement if the offense was “otherwise

extensive in scope, planning, or preparation.” See United States v. Petruk, 836 F.3d 974, 977 (8th

Cir. 2016) (upholding enhancement where conduct was extensive in planning and preparation even

though not extensive in scope).      Probation correctly determined that Reffitt’s actions were

extensive in all three respects. PSR ¶ 50 & p.35.

       While “otherwise extensive” is not defined in the Guidelines, “there are a number of factors

relevant to the extensiveness determination, including the length and scope of the criminal activity

as well as the number of persons involved.” United States v. Holland, 22 F.3d 1040, 1046 (11th

Cir. 1994). Thus, in United States v. Pegg, 812 F. App’x 851, 860 (11th Cir. 2020) (per curiam)

(unpublished), the Eleventh Circuit affirmed the application of the two-level enhancement under
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§ 2J1.1(b)(3)(C), finding that the defendant’s conviction for conspiracy to obstruct justice, which

was done in secret from prison, directing several people through numerous coded phone calls and

emails, was part of a “scheme [that] involved an elaborate gathering together of lies and

misrepresentations.” Similarly, in Petruk, 836 F.3d at 977, the Eighth Circuit affirmed the

application of the § 2J1.2(b)(3)(C) enhancement, concluding that the obstructive conduct of the

defendant—who, while incarcerated, solicited his girlfriend to find someone else to falsely claim

on a recorded line to be the perpetrator of the underlying crime—was extensive in planning and

preparation (though not in scope).

       Here, Reffitt’s offenses were extensive in planning, preparation, and scope. Start with

planning and preparation: Reffitt’s actions here were at least as extensive as Petruk’s phone calls

from the jail. Reffitt spent several weeks planning the trip from Texas to the District of Columbia,

finding another TTP member to accompany him, making the hotel and driving arrangements, and

transporting the firearms, body armor, helmet, flexicuffs, and megaphone into the District and onto

the Capitol grounds, for purposes of carrying out his plan to storm the building and remove

lawmakers. Indeed, on the morning of January 6, he told the TTP leader over Telegram that he

was planning to “do the recon and then come back for weapons hot,” Govt. Ex. 1B4.3, meaning

that he was going to perform reconnaissance before deploying his loaded firearm. Moreover,

Reffitt had the foresight to bring a radio with him to communicate with Hardie while they were on

the Capitol grounds.

       Reffitt’s actions to obstruct Congress’s certification of the Electoral College vote were also

“extensive in scope.” Unlike other rioters who may have decided to head to the Capitol only after

attending the rally at the Ellipse, Reffitt intended, from the outset of his planning in Texas, to


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launch—and indeed lead—an attack on the Capitol. He played an integral role in overwhelming

the officers protecting the building, directly leading to the very first breach of the Capitol building,

the evacuation of lawmakers engaged in their duties, and the suspension of the Certification

proceeding.

       Probation therefore correctly applied the enhancement under § 2J1.2(b)(3)(C).

       C.      Guidelines Sentencing Range

       Probation calculated Reffitt’s criminal history as category I, which is not disputed. PSR

¶ 72. Accordingly, if the total offense level is 31, the Guidelines range is 9 to 11.25 years (108 to

135 months) of incarceration. If the total offense level is, as the government submits, 33, the

Guidelines range is 11.25 to 14 years (135 to 168 months) of incarceration.

       D.      Upward Departure

       The Court should impose a sentence of incarceration that departs upwards from the

Guidelines range on two bases. First, the Court should depart upward under U.S.S.G. § 3A1.4,

cmt. n.4 (“Terrorism”), because Reffitt’s conviction under 18 U.S.C. § 1512(c)(2) for obstructing

Congress’s certification of the Electoral College vote “was calculated to influence or affect the

conduct of government by intimidation or coercion, or to retaliate against government conduct.”

Second, the Court should depart upward under U.S.S.G. § 3D1.4, bkgd. cmt. (grouping), and

U.S.S.G. § 5K2.6 (weapons), because the Guidelines’ grouping analysis does not adequately

account for Reffitt’s possession of multiple weapons in the commission of his offenses.

               1.      Upward Departure for Terrorism

       Section 3A1.4 allows for an adjustment to the Guidelines range where the defendant’s

offense of conviction “involved, or was intended to promote, a federal crime of terrorism,” as

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defined by 18 U.S.C. § 2332b(g)(5). U.S.S.G. § 3A1.4, cmt. n.1. Where, as here, a defendant’s

conviction was not for, or was not “intended to promote,” an enumerated “federal crime of

terrorism,” an upward departure is warranted under U.S.S.G. § 3A1.4, cmt. n.4(A) (“Note 4(A)”)

if “the offense was calculated to influence or affect the conduct of government by intimidation or

coercion, or to retaliate against government conduct.” 16

       Here, the evidence submitted at trial clearly shows that Reffitt’s conduct was calculated for

these ends. 17 First, the evidence showed that Reffit both planned and carried out coercive and

intimidating acts targeting the U.S. government. He brought a firearm and police-style flexicuffs

onto Capitol grounds.     Carrying his holstered handgun and clad in body armor that could

withstand rifle fire, Reffitt was one of the first rioters to confront United States Capitol Police

officers on the stairs on the west side of the Capitol building.       There, he intimidated law

enforcement officers by advancing toward them at the head of a mob of rioters. He impeded and




16
   The government bears the burden to prove that the U.S.S.G. § 3A1.4 enhancement is applicable
with reference to Reffitt’s conviction and “relevant conduct” by a preponderance of the evidence.
United States v. Abu Khatallah, 314 F. Supp. 3d 179, 190 (D.D.C. 2018). A defendant’s “relevant
conduct” is the conduct that “occurred during, in preparation for, or to evade responsibility for”
the offense of conviction and includes “all harm that resulted from” or “was the object of” the
defendant’s “acts and omissions,” even if uncharged. Id. at 187-88 (citing U.S.S.G. § 1B1.3).
17
   Notably, the upward departure under Note 4(A) may be appropriate even if influencing,
affecting, or retaliating against the government was not the defendant’s sole purpose or motivation.
For example, the D.C. Circuit has held (applying a prior version of Section 3A1.4) that a
defendant’s “money-raising goals obviously do not preclude a finding of intent to influence
government policy,” even if raising money was the defendant’s “primary purpose.” United States
v. Haipe, 769 F.3d 1189, 1193 (D.C. Cir. 2014); see also, e.g., United States v. Awan, 607 F.3d
306, 317 (2d Cir. 2010) (offense may be calculated to influence, affect, or retaliate against
government conduct even if a defendant’s “particular motivation . . . is to impress a more
established terrorist with his abilities”) (emphasis in original); United States v. Van Haften, 881
F.3d 543, 545 (7th Cir. 2018) (enhancement may apply even if the defendant’s conduct “was also
calculated to accomplish other goals simultaneously”).
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interfered with those officers not only by refusing to obey their verbal commands to stop

advancing, but also by continuing forward even after they discharged less-than-lethal munitions at

him. And, using both his voice (amplified through his megaphone) and hand gestures, he urged

others behind him to continue moving toward the Capitol building, which they did, overrunning

the officers and breaching the building, causing the legislators to evacuate from their chambers

and cease performing their constitutional duties.

       Second, Reffitt’s choice of target—the United States Capitol building—further evidences

his intent to intimidate, affect, or retaliate against the government. As Judge Cooper explained in

applying the terrorism enhancement in United States v. Abu Khatallah, 314 F. Supp. 3d 179, 198

(D.D.C. 2018), a defendant’s specific intent to influence and retaliate against government conduct

can often “be inferred from the defendant’s choice of target.” Attacking a government facility

that is “a physical manifestation of the U.S. government . . . suggests a desire to retaliate against

or influence that government.” Id. at 199. That is why, “[u]nsurprisingly . . . , several courts

have applied and upheld the terrorism enhancement for defendants who targeted government

facilities.” Id. (citing cases). Clearly, attacking the United States Capitol—the legislative seat

of our government—while the entire complement of legislators and the Vice President of the

United States are inside performing their constitutional and statutory duties is a strong indication

of intent to influence or retaliate against the government.

       Third, the evidence at trial showed that Reffitt extensively planned for weeks ahead of

January 6 to come to the District of Columbia with the specific intent of attacking the Capitol and

taking over Congress. He recruited Rocky Hardie to join him in December 2020, discussed with

Hardie the need to bring multiple firearms, made travel arrangements for the two of them, and


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outfitted himself with weapons, body armor, and zip ties. 18 This level of planning is consistent

with application of the terrorism enhancement. See United States v. Siddiqui, 699 F.3d 690, 709

(2d Cir. 2012) (“[T]he terrorism enhancement is applicable where a defendant acts according to a

plan—whether developed over a long period of time or developed in a span of seconds—with the

object of influencing government conduct or retaliating against a government.”); see also United

States v. Mandhai, 375 F.3d 1243, 1248 (11th Cir. 2004) (“[T]he terrorism enhancement does not

hinge upon a defendant’s ability to carry out specific terrorist crimes or the degree of separation

from their actual implementation.”).

       Finally, Reffitt’s own statements confirm that he intended for his coercive and intimidating

actions to influence or affect government conduct and to retaliate against it. He spoke in detail

about his intent to stop legislators from performing their constitutional and statutory duties to

certify the Electoral College vote by “drag[ging] lawmakers out of the Capitol by their heels with

their heads hitting every step.” Mem. Op. (May 4, 2022) (ECF No. 148), at 8. Just prior to his

attack, he made clear his aim to “rip every [member of Congress], Republican, Democrat, the fuck

out of there, because the republic of the people owns that fucking building,” and to “get rid of them

motherfuckers and start over.” Govt. Ex. 1B20.2.1 at 25:45.

       And Reffitt’s objective was not only to stop Congress from performing its constitutional

duty, but also, as he later described to his son on a recording, to “carry a weapon and take over the




18
   An upward departure based on weapons is discussed in the following Section. And while
U.S.S.G. § 3B1.5(2)(A) provides for a two-level increase if the defendant was convicted of a crime
of violence and the offense involved the use of body armor, see Govt. Ex. 1B1 (Spartan Armor
Systems black plate carrier, with ceramic plates capable of stopping rifle rounds), none of the four
counts of conviction for his actions on January 6 qualifies as a crime of violence under 18 U.S.C.
§ 16.
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Congress.” Govt. Ex. 217. While at the Ellipse before heading to the Capitol on January 6,

Reffitt repeatedly told others around him, as recorded on his helmet camera, that he was going to

take over the Capitol by, in part, physically removing the legislators who were working inside.

       Those statements demonstrate that Reffitt sought to affect—that is, obstruct—Congress by

stopping the certification proceeding while also retaliating against Congress for what he perceived

to be a fraudulent presidential election. Reffitt thus evinced an intent both to influence and affect

government conduct through intimidation and coercion and to retaliate against government

conduct. That is so even if there is evidence that Reffitt made other “inconsistent statements,”

held “many false beliefs,” had “incoherent” political motivations, or if he characterizes his

statements as “mere venting.” Van Haften, 881 F.3d at 544-45. And Reffitt’s many statements

expressing his intent fit “within a context of plans” that “implicate government interests” even if

any one statement, alone, would be insufficient. United States v. Wright, 747 F.3d 399, 410 (6th

Cir. 2014).

       It is clear from Reffitt’s conduct, including his express and implied intent, that Reffitt

sought not just to stop Congress, but also to physically attack, remove, and replace the legislators

who were serving in Congress. This is a quintessential example of an intent to both influence and

retaliate against government conduct through intimidation or coercion.

       An upward departure is therefore warranted under Note 4(A). 19 Under the Guidelines text

for Section 3A1.4, when the defendant has committed an enumerated federal crime of terrorism or



19
   An upward departure is equally appropriate under U.S.S.G. § 5K2.0, which would account for
Reffitt’s “intent to frighten, intimidate, and coerce” federal lawmakers in manner that is not
otherwise accounted for in the Guidelines. United States v. Tankersley, 537 F.3d 1100, 1116 (9th
Cir. 2008); see id. at 1112-14 (upholding 12-level upward departure under Section 5K2.0 after the

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the defendant’s conduct was intended to promote such an offense, the sentencing court must

increase the offense level by 12 levels 20 and place the defendant in criminal history category VI.

See U.S.S.G. § 3A1.4(a) & (b). Given the severity of Reffitt’s conduct and the circumstances in

which that conduct occurred, a significant upward departure pursuant to Note 4(A) would be

appropriate. 21

                  2.   Upward Departure for Inadequate Grouping and Weapons

        The background commentary under U.S.S.G. § 3D1.4 notes that there are circumstances in

which the grouping analysis to determine the combined offense level for multiple groups “could

produce adjustments for the additional counts that are inadequate.” The commentary further

explains that “[s]ituations in which there will be inadequate scope for ensuring appropriate

additional punishment for the additional crimes are likely to be unusual and can be handled by

departure from the guidelines.” U.S.S.G. § 3D1.4 bkgd. cmt; see also United States v. Pitts, 973

F. Supp. 576, 582 (E.D. Va. 1997) (departing upward by two levels based on inadequacy of

grouping when defendant had “two separate and distinct periods of espionage activity—one actual

and one attempted”), aff’d, 176 F.3d 239 (4th Cir. 1999); United States v. Rowbal, 105 F.3d 667,

*2 (9th Cir. 1996) (unpublished) (affirming a two-level upward departure on the ground that the

defendant’s punishment, under the grouping rules, was not sufficiently increased).



district court concluded that Section 3A1.4 did not apply).
20
   U.S.S.G. § 3A1.4(a) states that the offense level should be “increase[d] by 12 levels; but if the
resulting offense level is less than level 32, increase to level 32.”
21
    Under Note 4, this Court “may not exceed the top” of the Guidelines range that would have
resulted if the adjustment in Section 3A1.4’s text applied. U.S.S.G. § 3A1.4, cmt. n.4. As such,
if the Court adopts the PSR’s offense level of 31, the maximum upward departure results in an
offense level of 43.
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       This case presents the unusual situation in which an upward departure is warranted because

the grouping analysis provided an “inadequate scope” to punish the additional firearms-related

crimes for which Reffitt was convicted—Counts One (Civil Disorder, Transporting Firearm) and

Three (Restricted Grounds with a Firearm).

       The Guidelines analyses for Counts One and Three reflect Reffitt’s culpability for

possession of weapons in furtherance of those offenses. However, due to the grouping analysis,

those adjustments for possession of weapons have no impact on the total offense level for Group

One (which is dictated by the offense level for Count Two).

       Similarly, an upward departure under Section 5K2.6 may be warranted “[i]f a weapon or

dangerous instrumentality was used or possessed in the commission of the offense.” Here, Reffitt

used multiple weapons to obstruct Congress as charged in Count Two, yet the possession of those

weapons is not reflected by any increase in the total offense level.

       The total Guidelines offense level of 31 (or 33, as the government submits it should be)

reflects only Reffitt’s obstruction of the official proceeding. It does not reflect any additional

increase for the facts that (a) Reffitt had a handgun with him when he confronted officers and led

the crowd up the stairs at the Capitol (which was an express jury finding by virtue of its choice to

convict Reffitt of Count Three); (b) Reffitt transported his AR-15-style semi-automatic rifle from

Texas into the District of Columbia and left it assembled in his car in Georgetown; or (c) that,

under U.S.S.G. § 1B1.3(a)(1)(A) and (B), Reffitt is responsible for Rocky Hardie’s transportation

of his own handgun and AR-15 semi-automatic rifle into the District of Columbia, including

Hardie’s carrying of his own loaded handgun onto restricted Capitol grounds and leaving the rifle

assembled in the car in Georgetown.


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       The jury returned guilty verdicts on Counts One and Three based on Reffitt’s possession

and use of firearms. The defendant’s transportation of multiple firearms into the District of

Columbia, and his possession of a handgun on Capitol grounds while confronting the Capitol

Police constitute conduct far more dangerous and serious than the current Guidelines calculation

reflects. The Court should depart upward to reflect the seriousness of those separate offenses.

       Courts of appeals have affirmed upward departures for firearms possession under § 5K2.6

in fraud cases, premised on the idea that the fraud Guideline does not take into account the use of

a weapon, and therefore does not adequately capture a defendant’s dangerousness or the

seriousness of the offense. United States v. Paslay, 971 F.2d 667, 672 (11th Cir. 1992); United

States v. Gaddy, 909 F.2d 196, 199-200 (7th Cir. 1990). 22 The same premise holds true here:

Reffitt’s transportation and possession of firearms in furtherance of his obstruction of the

congressional proceeding means that the Court should depart upward from the obstruction

Guideline to account for the added dangerousness and seriousness of Reffitt’s criminal conduct,

especially because under the grouping analysis there results an “inadequate scope for ensuring

appropriate additional punishment for the additional [firearms] crimes.” U.S.S.G. § 3D1.4, bkgd.

cmt.




22
   The courts in Paslay and Gaddy departed upward by four and two levels, respectively (though
the Paslay court departed upward on multiple grounds). Many Guidelines provide a two-level
increase if a firearm was possessed. See, e.g., U.S.S.G. § 2B2.1(b)(4) (burglary); § 2B2.3(b)(2)
(trespass); § 2B5.1(b)(4) (counterfeit bearer obligations); § 2B5.3(b)(6)(B) (criminal infringement
of copyright). Others provide a three-level increase for the same characteristic. See, e.g., U.S.S.G.
§ 2B3.1(b)(2)(E) (robbery); § 2B3.2(b)(3) (extortion by force).
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V.     SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

       In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentencing disparities

among defendants with similar records who have been found guilty of similar conduct, §

3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of

a lengthy term of incarceration.

       A.      Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6, 2021 was a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of

the only times in our history when the building was literally occupied by hostile forces. By its

very nature, the attack defies comparison to other events. While each defendant should be

sentenced based on his or her individual conduct, each person who participated in the breach of

the Capitol and interfered with or assaulted law enforcement officers on January 6 did so under

the most extreme of circumstances, to which their conduct directly contributed.

       Reffitt played a critical role in the attack on the Capitol. He came to our nation’s capital

with a plan to physically and violently remove the legislators, some of whom he threatened by

name, from inside the Capitol building and take over the Congress. He intended to use his firearm

and flexicuffs—backed by the hundreds of rioters in the mob behind him—to accomplish his ends.




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         B.     Reffitt’s History and Characteristics

         While Reffitt has two prior arrests and one prior conviction, his criminal history is

relatively minor, as reflected in his criminal history score of I. However, Reffitt not only played

a central role in the attack on the Capitol, but he also planned and recruited others for future

violence and attacks, illegally possessed a firearm silencer, and pointed a gun at his wife’s head.

Moreover, he continues to agitate for future violence and resistance, as demonstrated in his letters

and communications from the jail.

         Reffitt’s leadership role in the Texas Three Percenter militia enhances his dangerousness.

He performed vetting for the militia, hosted militia gatherings at his house, and was so close with

the leader of the statewide militia that when that leader was taken in for questioning by law

enforcement, he relied on Reffitt to disseminate the message and “purge” the militia’s chats on

Telegram. Reffitt used the militia to recruit others to his cause, discussing both with other

members and new recruits whom he met while attacking the Capitol the need to engage in future

violence. And Reffitt used the militia to try to circumvent firearms laws, telling others about a

ruse of collecting firearms under his “TTP Security” business.

         C.     The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 23 As with the nature and circumstances of the offense,



23
     Federal Bureau of Investigation Director Christopher Wray, Statement before the House

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this factor supports a lengthy sentence of incarceration. Reffitt’s criminal conduct, directly

interfering with three law enforcement officers and corruptly obstructing an official proceeding, is

the epitome of disrespect for the law. And, of course, his obstruction of justice for threatening to

harm his teenage children if they turned him in to the FBI both confirms and shows additional

disrespect for the law.

         When Reffitt entered the Capitol grounds and confronted the Capitol Police on the West

Front stairs, it was abundantly clear that lawmakers, and the law enforcement officers who were

sworn to protect them, were under siege.          Law enforcement officers were overwhelmed,

outnumbered, and in some cases, in serious danger. The rule of law was not only disrespected; it

was under attack that day. A lesser sentence would suggest to the general public and to other

rioters that attempts to obstruct official government proceedings and interfere with police officers

are not taken seriously. In this way, a lesser sentence could encourage further abuses. See Gall,

552 U.S. at 54 (it is a “legitimate concern that a lenient sentence for a serious offense threatens to

promote disrespect for the law”).

         D.     The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




Oversight      and      Reform      Committee       (June     15,     2021),  available    at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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               1.      General Deterrence

       A significant sentence here is needed “to afford adequate deterrence to criminal conduct”

by others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong because

Reffitt engaged in acts of violence that were intended to influence the government through

intimidation or coercion—acts that have been defined, by statue, as domestic terrorism. See 18

U.S.C. § 2331(5).

       Moreover, the violence at the Capitol on January 6 was calculated to interfere, and did

interfere, with one of the most important democratic processes we have: the peaceful transfer of

power. As noted by Judge Moss during a different sentencing hearing,

               [D]emocracy requires the cooperation of the governed. When a mob is
               prepared to attack the Capitol to prevent our elected officials from both
               parties from performing their constitutional and statutory duty, democracy
               is in trouble. The damage that [the defendant] and others caused that day
               goes way beyond the several-hour delay in the certification. It is a damage
               that will persist in this country for decades.

United States v. Hodgkins, 21-cr-188-RDM (Sentencing Hearing, July 19, 2021) Tr. 69-70.

Indeed, the attack on the Capitol means “that it will be harder today than it was [before January 6]

for the United States and our diplomats to convince other nations to pursue democracy. It means

that it will be harder for all of us to convince our children and our grandchildren that democracy

stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. And it is

important to convey to future rioters and would-be mob participants that their actions will have

consequences. This is especially true for leaders and planners like Reffitt. There is possibly no

greater factor that this Court must consider.



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               2.      Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. Reffitt has expressed no remorse or

contrition. To the contrary, almost every action he has taken since January 6 points to a man

girding for another battle—and a violent one at that. Reffitt’s own statements about attacking

Facebook and the mainstream media, and about how what he did on January 6 was only the

“preface” or “beginning,” demonstrates that this defendant’s sentence must be sufficient to provide

specific deterrence from committing future crimes of violence.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that Reffitt and others like him committed on January 6 are unprecedented.

These crimes defy statutorily appropriate comparisons to other obstructive related conduct in other

cases. To try to mechanically compare other § 1512 defendants prior to January 6, 2021, would

be a disservice to the magnitude of what the riot entailed and signified.

       As of the date of this sentencing memorandum, by the government’s count, only six Capitol

Riot defendants have been sentenced for convictions under § 1512. 24 None had a firearm on the

Capitol grounds. None transported an AR-15 semi-automatic rifle into the District. None had

an aggravating role in the offense, as Reffitt did when he successfully recruited Hardie into his

scheme and supervised his criminal conduct.          None played as central a role as Reffitt in



24
  United States v. Paul Hodgkins, 21-cr-118-RDM; United States v. Jacob Chansley, 21-cr-003-
RCL; United States v. Duke Wilson, 21-cr-345-RCL; United States v. Matthew Miller, 21-cr-75-
RDM; United States v. Greg Rubenacker, 21-cr-193-BAH; United States v. Scott Kevin Fairlamb,
21-cr-120-RCL.
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overwhelming officers and showing the mob the way forward at the outset of the riot. None

expressed the same intent as Reffitt to violently take over Congress. None was a member of a

militia group dedicated to achieving political goals through violent acts. None had a sentencing

guidelines range that was nearly as high as Reffitt’s. And because none of the other defendants

was convicted after trial, all of those defendants, by definition, expressed at least some acceptance

of responsibility. Reffitt, on the other hand, is defiant that he is a political prisoner and yearns for

the world to adopt his view that “January 6th was a historical day in this country,” as he wrote in

his “1/6ers” manifesto.

        None of the potential comparators resembles Reffitt in any meaningful respect. Consider

the sentences imposed on Scott Fairlamb and Greg Rubenacker for reference. Fairlamb pled

guilty to violations of 18 U.S.C. §§ 1512(c)(2) and 111(a)(1) and was sentenced to 41 months

incarceration. Fairlamb entered through the Senate Wing Door, brandishing a police baton, about

one minute after the initial breach. He assaulted a law enforcement officer while inside the

Capitol and made statements after the riot suggesting he was proud of his actions. Notably,

several mitigating factors were present in Fairlamb’s case that are not present here: he showed

sincere remorse for his actions, and he was also one of the first defendants to accept responsibility

for a felony charge in a Capitol riot case. Fairlamb, Case No. 21-cr-120, Sent. Tr. at 37.

        Rubenacker pled guilty (without a plea agreement) to all ten counts in a superseding

indictment, including felony counts of Civil Disorder, in violation of 18 U.S.C. § 231(a)(3),

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2), and Assaulting,

Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1), and was sentenced

to 41 months of incarceration. Rubenacker was one of the first people to breach the Capitol,


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entering the Senate Wing Doors within 60 seconds of the initial breach of the building. Inside,

he and other rioters chased a police officer through part of the Capitol. And he remained in the

Capitol for over an hour.

       Both Fairlamb and Rubenacker pled guilty and expressed some level of remorse or

acceptance of responsibility. And neither of these defendants played anything close to the central

role that Reffitt played, carrying a firearm, megaphone, and flexicuffs, and wearing body armor

and a handgun, encouraging and showing the mob of rioters below the way to overwhelm the

outnumbered Capitol Police officers on the landing below the Senate Wing Door. In this way, it

was Reffitt’s unique actions igniting the crowd of rioters that allowed Fairlamb and Rubenacker

to access the building through the Senate Wing Door.

       A sentence of 15 years of incarceration for Reffitt does not result in an unwarranted

disparity with any other previously sentenced Capitol riot defendant.


VI.    RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011).   Two general restitution statutes provide such authority.      First, the Victim and

Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now

codified at 18 U.S.C. § 3663), “provides federal courts with discretionary authority to order

restitution to victims of most federal crimes.”      Papagno, 639 F.3d at 1096.       Second, the

Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214

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(codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of

the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for

restitution orders issued and enforced under these two statutes is found in 18 U.S.C. § 3664. See

18 U.S.C. § 3556 (directing that sentencing court “shall” impose restitution under the MVRA,

“may” impose restitution under the VWPA, and “shall” use the procedures set out in Section 3664).

       The VWPA and MVRA share certain features. Both require that restitution “be tied to the

loss caused by the offense of conviction.” Hughey v. United States, 495 U.S. 411, 418 (1990)

(interpreting the VWPA); see United States v. Clark, 747 F.3d 890, 897 (D.C. Cir. 2014)

(restitution under the MVRA limited to the “offense of conviction” under Hughey). Both require

identification of a victim, defined in both statutes as “a person directly and proximately harmed as

a result of” the offense of conviction. 25     See 18 U.S.C. § 3663(a)(2) (VWPA); 18 U.S.C.

§ 3663A(a)(2). Both statutes identify similar covered costs, including lost property and certain

expenses of recovering from bodily injury. See Papagno, 639 F.3d at 1097; 18 U.S.C. § 3663(b);

18 U.S.C. § 3663A(b). Finally, under both statutes, the government bears the burden by a

preponderance of the evidence to establish the amount of loss suffered by the victim. United

States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019). The relevant inquiry is the scope of the

defendant’s conduct and the harm suffered by the victim as a result. See Emor, 850 F. Supp. 2d

at 202. The use of a “reasonable estimate” or reasonable approximation is sufficient, “especially

in cases in which an exact dollar amount is inherently incalculable.” 26 United States v. Gushlak,



25
  The government or a governmental entity can be a “victim” for purposes of both the VWPA
and MVRA. United States v. Emor, 850 F. Supp. 2d 176, 204 n.9 (D.D.C. 2012).
26
   The sentencing court should “articulate the specific factual findings underlying its restitution
order in order to enable appellate review.” Fair, 699 F.3d at 513.
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728 F.3d 184, 196 (2d Cir. 2013); see United States v. Sheffield, 939 F.3d 1274, 1277 (11th Cir.

2019) (estimating the restitution figure is permissible because “it is sometimes impossible to

determine an exact restitution amount”) (citation omitted); United States v. James, 564 F.3d 1237,

1246 (10th Cir. 2009) (restitution order must identify a specific dollar amount but determining that

amount is “by nature an inexact science” such that “absolute precision is not required”) (citation

omitted); United States v. Burdi, 414 F.3d 216, 221 (1st Cir. 2005) (same); see also Paroline v.

United States, 572 U.S. 434, 459 (2014) (observing in the context of the restitution provision in

18 U.S.C. § 2259 that the court’s job is to “assess as best it can from available evidence the

significance of the individual defendant’s conduct in light of the broader casual process that

produced the victim’s losses . . . cannot be a precise mathematical inquiry”).

       The statutes also differ in significant respects.      As noted above, the VWPA is a

discretionary restitution statute that permits, but does not require, the sentencing court to impose

restitution in any case where a defendant is convicted under Title 18 or certain other offenses in

Title 21 or Title 49. 18 U.S.C. § 3663(a). In deciding whether to impose restitution under the

VWPA, the sentencing court must take account of the victim’s losses, the defendant’s financial

resources, and “such other factors as the court deems appropriate.” United States v. Williams, 353

F. Supp. 3d 14, 23-24 (D.D.C. 2019) (quoting 18 U.S.C. § 3663(a)(1)(B)(i)). By contrast, as noted

above, the MVRA applies only to certain offenses, such as a “crime of violence,” 18 U.S.C.

§ 3663A(c)(1)(A), or “Title 18 property offenses ‘in which an identifiable victim . . . has suffered




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a physical injury or pecuniary loss,’” Fair, 699 F.3d at 512 (citation omitted), but it requires

imposition of full restitution without respect to a defendant’s ability to pay. 27

       Applying these principles to this case leads to the conclusion that Reffitt should be required

to pay $2,000 in restitution.     One of the offenses for which he was convicted, 18 U.S.C.

§ 1752(a)(1), triggers mandatory restitution under the MVRA as an “offense against property” that

resulted in pecuniary loss for the Architect of the Capitol. See 18 U.S.C. § 3663A(c)(1)(A)(ii),

Moreover, Reffitt’s four additional convictions under Title 18 fall within the VWPA. As the

evidence at trial showed, Reffitt’s conduct, in conjunction with that of many other rioters, directly

and proximately resulted in damage to the Capitol building and grounds and losses suffered by law

enforcement officers deployed to protect Members of Congress, their staff, and other Capitol

employees. A “reasonable estimate,” Gushlak, 728 F.3d at 196, of the restitution for which Reffitt

should be responsible is $2,000. That is the same amount that defendants convicted of felony

offenses in connection with the events of January 6 have typically agreed to pay under their plea

agreements. And that is the same amount that Chief Judge Howell ordered a § 1512(c)(2)

defendant who pled guilty without a plea agreement to pay in restitution. See Rubenacker Sent.

Tr. at 145-47 (“[T]he amount of $2,000 is an approximate estimate of the losses for which he is

responsible. And I do find that that is the standard amount that so far . . . for which defendants

from January 6th facing and convicted of felony charges are being required to pay.”).

       The VWPA and MVRA also provide that restitution ordered under Section 3663 “shall be

issued and enforced in accordance with section 3664.”             18 U.S.C. § 3663(d); 18 U.S.C.


27
  Both statutes permit the sentencing court to decline to impose restitution where doing so will
“complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. § 3663(a)(1)(B)(ii); 18
U.S.C. § 3663A(c)(3)(B).
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§ 3663A(d). Because this case essentially involves the related criminal conduct of hundreds of

defendants, the Court has discretion to: (1) hold the defendants jointly and severally liable for the

full amount of restitution owed to the victim(s), see 18 U.S.C. § 3664(f)(1)(A) (requiring that, for

restitution imposed under § 3663, “the court shall order restitution to each victim in the full amount

of each victim’s losses as determined by the court and without consideration of the economic

circumstances of the defendant”); or (2) apportion restitution and hold the defendant and other

defendants responsible only for each defendant’s individual contribution to the victim’s total

losses. 18 U.S.C. § 3664(h).

       Reffitt’s crimes on January 6 affected several entities responsible for the Capitol building,

among them the Architect of the Capitol, the Office of the Chief Administrative Officer of the

United States House of Representatives, and the Office of the Secretary of the United States

Senate. Attached as Sentencing Exhibits 13, 14, and 15 are letters from each of these three

entities, attesting to the pecuniary damages each suffered as a result of the attack on the Capitol on

January 6: $1,253,354.01, $547,411.27, and $32,075.00, respectively. That is a total amount of

$1,832,840.28, which does not even account for the damages suffered by the Capitol Police,

Metropolitan Police Department, or myriad other law enforcement entities. 28

       Here, Reffitt should be directed to pay $2,000 as an approximate estimate of the losses for

which he is responsible. Reffitt’s restitution payment should be made to the Clerk of the Court,

who will forward the payment to the Architect of the Capitol.




28
   The government estimates that, as of April 5, 2022, the approximate total losses suffered as a
result of the siege at the United States Capitol was $2,734,783.15.
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VII.   FINE

       Reffitt’s felony convictions subject him to a statutory maximum fine of $250,000. 18

U.S.C. § 3571(b)(3). In determining whether to impose a fine, the sentencing court should

consider the defendant’s income, earning capacity, and financial resources.        See 18 U.S.C.

§ 3572(a)(1); U.S.S.G. § 5E1.2(d). In assessing a defendant’s income and earning capacity, a

sentencing court properly considers whether a defendant can or has sought to “capitalize” on a

crime that “intrigue[s]” the “American public.” United States v. Seale, 20 F.3d 1279, 1284-86

(3d Cir. 1994). The government is not seeking a fine in this case.


VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 15 years on each of Counts Two (Obstruction of an Official

Proceeding) and Five (Obstruction of Justice—Hindering Communication Through Force or

Threat of Physical Force), 10 years on Count Three (Entering or Remaining in a Restricted

Building or Grounds with a Firearm), and 5 years on each of Counts One (Transporting a Firearm

in Furtherance of a Civil Disorder) and Four (Obstructing Officers During a Civil Disorder), all to

run concurrently with one another. The government further recommends that the Court impose a

term of supervised release of 3 years, restitution of $2,000, and the mandatory $100 special

assessment for each of the five counts of conviction.




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                             Respectfully submitted,

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4 – Email to Sen. Cruz’s office (Aug. 20, 2020)
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12 – United States v. Rubenacker, Sentencing Hearing Transcript (May 26, 2022)
13 – Architect of the Capitol letter re: restitution (May 26, 2022)
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